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                 EXHIBIT 6 – Declaration of Ethan Corey
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Case 5:22-cv-02111-WLH-SK Document 44-5 Filed 05/31/24 Page 4 of 26 Page ID #:789
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Case 5:22-cv-02111-WLH-SK Document 44-5 Filed 05/31/24 Page 6 of 26 Page ID #:791
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                EXHIBIT 7 – Declaration of Michele Deitch
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                 EXHIBIT 8 – Declaration of Josh Vaughn
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                          Vaughn
                         Exhibit A
       Representative Examples of Right-to-
             Know Law Responses
Case 5:22-cv-02111-WLH-SK Document 44-5 Filed 05/31/24 Page 17 of 26 Page ID #:802




                            COMMONWEALTH OF PENNSYLVANIA
                    PENNSYLVANIA COMMISSION ON CRIME AND DELINQUENCY
                                 AGENCY OPEN RECORDS OFFICE
                                        P.O. BOX 1167
                             HARRISBURG, PENNSYLVANIA 17108-1167
                                  TELEPHONE: (717) 705-0888
                                     FAX: (717) 705-0891

                                           February 5, 2024

   VIA Email:     jvaughn@pennlive.com

   Joshua Vaughn
   833 Summit Avenue
   Waynesboro, PA 17268

                                        Re:     RTKL 2024-06
                                                Death In Custody Records

   Dear Mr. Vaughn:

   This letter acknowledges receipt by the Pennsylvania Commission on Crime and Delinquency
   (PCCD) of your request for records under the Pennsylvania Right-to-Know Law (RTKL). 65
   P.S. §§67.101, et seq. Your request is deemed received by this office on February 2, 2024. A
   response to your request is due on or before February 9, 2024.

   You requested “…a copy of the deaths in custody spreadsheet and all DCR-1A submitted to
   PCCD by agencies for the 4th quarter of 2023.”

   Your request is granted. This email contains a link to the records responsive to your request.
   Confidential data, such as birthdates, social security numbers, and private residence addresses
   have been redacted.

   You have a right to appeal this response in writing to the Office of Open Records (OOR). If you
   choose to file an appeal, you must do so within 15 business days of the mailing date of this
   response and provide all the following to OOR:

      x   A copy of the RTKL request.
      x   A copy of the Agency’s response (or a notation that the request was “deemed denied,”
          meaning the Agency didn’t respond at all).
      x   A written statement explaining why you think the requested record is public.
      x   A written statement addressing any grounds stated by the agency for denying the request.
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   RTKL 2024 06
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   The OOR strongly recommends that appeals be submitted through the online version of the
   official OOR Appeal Form. You may access the site and all forms at:
   https://www.openrecords.pa.gov/Appeals/HowToFile.cfm

   If that is not possible, the OOR also accepts appeals via email, fax, postal mail and in-person
   submission.

                                       Office of Open Records
                                     333 Market Street, 16th Floor
                                      Harrisburg, PA 17101-2234
                                         Fax: (717)425-5343
                                      Email: openrecords@pa.gov




                                                                Sincerely,



                                                                 Derin Myers
                                                                       Myerrs
                                                                 AORO
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                     Standard Right-to-Know Law Request Form
Good communication is vital in the RTKL process. Complete this form thoroughly and retain a copy; it may be
required if an appeal is filed. You have 15 business days to appeal after a request is denied or deemed denied.
                          PCCD
SUBMITTED TO AGENCY NAME: _____________________________________________________________________(Attn: AORO)
                    2/1/2024
Date of Request: __________________________________ Submitted via:         Email       U.S. Mail       Fax      In Person

PERSON MAKING REQUEST:
        Joshua Vaughn                                                                PennLive
Name: ________________________________________________ Company (if applicable): ______________________________________

Mailing Address                        ____________________________________________________________________________________
      Waynesboro                          Pa            17268                  jvaughn@pennlive.com
City: ____________________________ State: ________ Zip: ______________ Email: ____________________________________________
             717-
Telephone: ______              __________________________________ Fax: ____________________________________________________

How do you prefer to be contacted if the agency has questions?               Telephone        Email      U.S. Mail

RECORDS REQUESTED: Be clear and concise. Provide as much specific detail as possible, ideally including subject
matter, time frame, and type of record or party names. RTKL requests should seek records, not ask questions. Requesters
are not required to explain why the records are sought or the intended use of the records unless otherwise required by law.
Use additional pages if necessary.
I am requesting a copy of the deaths in custody spreadsheet and all DCR-1A submitted to PCCD by
___________________________________________________________________________________________________________________________
agencies for the 4th quarter of 2023.

___________________________________________________________________________________________________________________________

___________________________________________________________________________________________________________________________

___________________________________________________________________________________________________________________________

___________________________________________________________________________________________________________________________

DO YOU WANT COPIES?               Yes, printed copies (default if none are checked)
                                  Yes, electronic copies preferred if available
                                  No, in-person inspection of records preferred (may request copies later)
Do you want certified copies?         Yes (may be subject to additional costs)         No
RTKL requests may require payment or prepayment of fees. See the Official RTKL Fee Schedule for more details.
Please notify me if fees associated with this request will be more than $100 (or) $____________.
___________________________________________________________________________________________________________________________
                                ITEMS BELOW THIS LINE FOR AGENCY USE ONLY

Tracking: ____________________ Date Received: ____________________ Response Due (5 bus. days): ____________________

30-Day Ext.?      Yes     No (If Yes, Final Due Date: ___________________) Actual Response Date: ____________________

Request was:        Granted      Partially Granted & Denied          Denied Cost to Requester: $_____________________

   Appropriate third parties notified and given an opportunity to object to the release of requested records.

NOTE: In most cases, a completed RTKL request form is a public record.                             Form updated Feb. 3, 2020
More information about the RTKL is available at https://www.openrecords.pa.gov
          PADOC Death Report Q3 2023                                                                                                                                1        2          3                   4                          5                 6          7              8               9                 9                     9                9                                                 9
                        PCCD Report
INMATE         LAST NAME    FIRST NAME        MID SS #     Date      Time Of                                    LOCATION OF EVENT                                  SEX      DOB     ETHNICITY            RACE                LOCATION CATEGORY         AGENCY    DATE OF     FACILITY TYPE   Circumstances     If Unavailabile
NUMBER                                        INIT       Of Death     Death                                                                                                (YYYY)                                                                               RECEPTION                       of Death        Investigation       If Unavailabile
                                                                                                                                                                                                                                                                                                              Pending , Agency       Investigation
                                                                                                                                                                                                                                                                                                                  Conducting     Pending , Approximate If Other,
                                                                                                                                                                                                                                                                                                                 Investigation          End Date       Explanation Brief Description
NL5841      MITCHELL              WILLIAM      E          7/1/2023   01:25     SCI Albion 10745 - Route 18 Albion - PA 16475-0001                                  Male             Unknown               White             Law Enforcement Facility   PADOC     7/10/2018    State Prison   Natural Causes                                                         Lung Cancer
MJ4764      SCHMIDT               BRUCE        R          7/1/2023   21:23     SCI Houtzdale - 209 Institution Drive PO Box 1 - Houtzdale PA 16698-1000            Male             Unknown               White             Law Enforcement Facility   PADOC     1/28/2016    State Prison   Natural Causes                                                         ASCVD sudden cardiac death; diabetes; hypertension
BC8955      CARILLION             DAVID        S          7/2/2023   23:30     SCI Rockview - 1 Rockview Place – Bellefonte PA 16823-0820                          Male             Unknown               White             Law Enforcement Facility   PADOC    11/22/1989    State Prison   Natural Causes                                                         Metastatic Colon Cancer
QP4200      SMITH                 EVAN         M          7/4/2023   02:23     SCI Benner Township - 301 Institution Drive - Bellefonte PA 16823                   Male             Unknown     Black or African American   Law Enforcement Facility   PADOC     1/23/2023    State Prison      Suicide                                                             Suicide
FX2435      GRAY                  MATTHEW                 7/7/2023   11:30     SCI Houtzdale - 209 Institution Drive PO Box 1 - Houtzdale PA 16698-1000            Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    12/29/1999    State Prison   Natural Causes                                                         Malignanct neoplasm brain metastasis
NE8050      CIURO                 JOSE         L          7/8/2023   12:12     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC    12/13/2017    State Prison   Natural Causes                                                         Sepsis, Ischemic Colitis
OJ4120      CHO                   EUISOON                7/10/2023   16:34     SCI Muncy - 6454 Route 405 HWY PO Box 180 - Muncy, PA 17756-0180                   Female            Unknown               Asian             Law Enforcement Facility   PADOC    11/30/2004    State Prison   Natural Causes                                                         Hemorrhagic shock; acute UGI bleed; Cirrhosis
AP6885      WEBSTER               DOUGLAS                7/12/2023   14:15     SCI Fayette - 50 Overlook Drive - La Belle PA 15450                                 Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    8/17/1983     State Prison   Natural Causes                                                         Cardiac arrest
QP6520      FLORA                 RODNEY                 7/13/2023   14:55     SCI Camp Hill - 2500 Lisburn Road PO Box 8837 – Camp Hill PA 17001-8837             Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    7/21/2023     State Prison   Natural Causes                                                         Metastatic esophagus stage 4 cancer
BQ7167      MAHKOVEC              JOSEPH       A         7/15/2023   04:05     SCI Rockview - 1 Rockview Place – Bellefonte PA 16823-0820                          Male             Unknown               White             Law Enforcement Facility   PADOC    10/25/1991    State Prison   Natural Causes                                                         Acute heart failure, LVH, Atrial Fib
MQ5975      BROWN                 SHANE        D         7/21/2023   23:34     SCI Chester - 500 East 4th Street - Chester PA 19013-4551                           Male             Unknown     Black or African American   Law Enforcement Facility   PADOC     7/21/2023    State Prison   Natural Causes                                                         Hypertensive Cardio Vascular Disease
EB9950      CUNNINGHAM            DAVID                  7/28/2023   19:51     SCI Phoenix - 1200 Mokychic Drive PO Box 246 - Collegeville PA19426                 Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    11/24/1999    State Prison   Natural Causes                                                         End Stage Liver Cancer
QN8753      LAUGHMAN              DONALD       M         7/31/2023   18:37     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC     5/3/2022     State Prison   Natural Causes                                                         End Stage O2 and steroid-dependent emphysema; protein calorie malnutrition; ASCVD
DU1376      REID                  ALBERT       E          8/3/2023   15:52     SCI Phoenix - 1200 Mokychic Drive PO Box 246 - Collegeville PA19426                 Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    10/29/1998    State Prison   Natural Causes                                                         Acute and Chronic respiratory failure with hypoxia; Pneumonia; COPD
FE5080      FRANEK                STEPHEN      R          8/3/2023   20:26     SCI Houtzdale - 209 Institution Drive PO Box 1 - Houtzdale PA 16698-1000            Male             Unknown               White             Law Enforcement Facility   PADOC    12/12/2002    State Prison   Natural Causes                                                         Pancreatitis
BL0521      PEARSON               ANTONIO                 8/6/2023   05:55     SCI Houtzdale - 209 Institution Drive PO Box 1 - Houtzdale PA 16698-1000            Male             Unknown     Black or African American   Law Enforcement Facility   PADOC     2/19/1991    State Prison   Natural Causes                                                         Sepsis perforated gastric ulcer, Follicular lymphoma, ASCUD
FC8012      CZAJKOWSKI            DENIS                  8/10/2023   06:30     SCI Rockview - 1 Rockview Place – Bellefonte PA 16823-0820                          Male             Unknown               White             Law Enforcement Facility   PADOC     10/2/2002    State Prison   Natural Causes                                                         ESLD, Cirrhosis
AY7290      THOMPSON              CARL         R         8/10/2023   15:16     SCI Smithfield - 1120 Pike Street/PO Box 999 - Huntingdon PA 16652                  Male             Unknown     Black or African American   Law Enforcement Facility   PADOC     6/29/1988    State Prison   Natural Causes                                                         Squamous cell CA of lung w/ mets to liver
QP3687      DIAZ                  ROBERTO                8/19/2023    2:47     SCI Fayette - 50 Overlook Drive - La Belle PA 15450                                 Male             Unknown               White             Law Enforcement Facility   PADOC    12/27/2022    State Prison   Natural Causes                                                         Hypothyroidism, received chemo
GS2204      JACKSON               PAUL                   8/27/2023   15:40     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC     7/20/2018    State Prison   Natural Causes                                                         Respiratory Failure, Klebsiella Pneumonia, CVA
CG0204      BOYER                 JAMES        A         8/29/2023   10:16     SCI Waymart - 11 Fairview Drive - Waymart PA 18472                                  Male             Unknown               White             Law Enforcement Facility   PADOC     1/13/1994    State Prison   Natural Causes                                                         Under Review
NG1330      STEELE                DENNIS                  9/1/2023   13:36     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC     2/2/2018     State Prison   Natural Causes                                                         Necrotizing pancreatitis
DQ9437      DICKINSON             JAMES        B          9/6/2023    7:34     SCI Mahanoy - 301 Morea Road Frackville - PA 17932                                  Male             Unknown               White             Law Enforcement Facility   PADOC    7/14/1998     State Prison   Natural Causes                                                         Under Review
MG4516      KEIPER                RICHARD                 9/6/2023   11:43     SCI Fayette - 50 Overlook Drive - La Belle PA 15450                                 Male             Unknown               White             Law Enforcement Facility   PADOC    11/19/2015    State Prison   Natural Causes                                                         Acute cardiac arrest / cardiomyopathy
AS2220      REID                  LEONARD                 9/7/2023    2:09     SCI Phoenix - 1200 Mokychic Drive PO Box 246 - Collegeville PA19426                 Male             Unknown     Black or African American   Law Enforcement Facility   PADOC    11/23/1994    State Prison   Natural Causes                                                         Under Review
JT0459      PFEIFER               HARVEY       W         9/10/2023   11:20     SCI Coal Township - 1 Kelley Drive/Attn: Med Dept. – Coal Township PA 17866-1020    Male             Unknown               White             Law Enforcement Facility   PADOC     10/7/2010    State Prison   Natural Causes                                                         Under Review
AF7728      TORBECK               KENNETH                9/10/2023   12:23     SCI Waymart - 11 Fairview Drive - Waymart PA 18472                                  Male             Unknown               White             Law Enforcement Facility   PADOC     2/26/1979    State Prison   Natural Causes                                                         Family Decided comfort care only
KC1056      HERNANDEZ             GILBERT                9/12/2023   20:53     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC     7/13/2011    State Prison   Natural Causes                                                         Cirrosis, dialysis, atrib, COPD, ESRD, HCB, BPH
FM9426      TURNER                NATHANIEL              9/18/2023   14:04     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown     Black or African American   Law Enforcement Facility   PADOC     9/24/2003    State Prison   Natural Causes                                                         Pancreatic cancer
QP5400      KELLY                 DENNIS       W         9/24/2023    8:30     SCI Waymart - 11 Fairview Drive - Waymart PA 18472                                  Male             Unknown               White             Law Enforcement Facility   PADOC     3/27/2023    State Prison   Natural Causes                                                         Under Review
NK3581      CLEWELL               RONALD       K         9/29/2023   17:03     SCI Smithfield - 1120 Pike Street/PO Box 999 - Huntingdon PA 16652                  Male                2                  White             Law Enforcement Facility   PADOC     9/28/2023    State Prison      Suicide                                                             Suicide
AF9282      WEAKLAND              ROBERT                 9/30/2023    2:16     SCI Laurel Highlands - 5706 Glades Pike PO Box 631 - Somerset PA 15501-0631         Male             Unknown               White             Law Enforcement Facility   PADOC     9/27/1978    State Prison   Natural Causes                                                         Aspiration pneumonia, ASCUD




         REPORT GENERATED BY AT
                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 5:22-cv-02111-WLH-SK Document 44-5 Filed 05/31/24 Page 20 of 26 Page ID #:805
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   DEATH IN CUSTODY REPORTING ACT
    The Death in Custody Reporting Act of 2013 requires states that receive allocations under
    specified provisions of the Omnibus Crime Control and Safe Streets Act of 1968 to report
    certain information regarding the death of any person in law enforcement custody. This may
    include individuals who are detained, arrested, en route to incarceration, or incarcerated in
    state or local facilities or a boot camp prison.

   1. Please provide the following decedent information. If you have multiple deaths in custody,
      you will report one at a time.
       A. Decedent Name: Nathan James Wazalis
       B. Gender
          1. Male X
          2. Female
          3. Other gender identity:
       C. Race (Select all that apply)
          1. American Indian or Alaska Native
          2. Asian
          3. Black or African American
          4. Native Hawaiian or Other Pacific Islander
          5. White X
          6. Unknown
       D. Ethnicity
          1. Hispanic, Latino, or Spanish origin
          2. Not of Hispanic, Latino, or Spanish origin
          3. Unknown X
          Birth Year (YYYY). If unknown, please enter “9999”: 1975

   2. Please list the following information regarding the decedent’s death.
       A. Date of Death (MM-DD-YYYY): 11-24-2022
       B. Time of Death (24-hour clock): 08:29AM
       C. Location of Death
          1. Location Name (if applicable). This could be the name of a facility, place of
               business, or other designation for the location of death: PPSB (Philadelphia Public Service Building)
          2. Street Address: 400 N Broad St
          3. City: Philadelphia
          4. State (postal abbreviation): PA
               Zip: 19130




                                                                                                           Page 1 of 2
                                This questionnaire is to be used only for data collection purposes.
                               OMB #1121-0365, Death in Custody Reporting Act, exp. 07/31/2024
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       D. If the event causing the death occurred in any of the following facilities, please indicate
          the appropriate facility below. If the event causing the death did not occur in one of the
          facilities listed below, please use the “None of the above” answer choice.
          1. Municipal or county jail
          2. State prison
          3. State-run boot camp prison
          4. Contracted boot camp prison
          5. Any state or local contract facility
          6. Other local or state correctional facility (to include any juvenile facilities) X
          7. None of the above

   3. Please list the name of the department or agency that detained, arrested, or was in the
      process of arresting the deceased.
       A. Agency Name: Philadelphia Police Dept

   4. Please indicate the manner of death (Mark only one).
       A. Execution (i.e., capital punishment)
       B. Accident
       C. Death attributed to use of force by a law enforcement or corrections officer
       D. Homicide (e.g., an incident between two or more incarcerated individuals resulting in a
          death)
       E. Natural causes
       F. Suicide
       G. Unavailable, investigation pending X
          1. If yes, please report the agency conducting the investigation and an approximate
              end date.:
       H. Other
          1. If other, please explain:

   5. Please provide a brief description of the circumstances leading to the death (e.g., details
      surrounding an event that may have led to the death, the number and affiliation of any
      parties involved in an incident, the location and characteristics of an incident, other context
      related to the death, etc.).
       Male was brought in after being arrested for a warrant, male appeared to be
       having a medical issue so he was taken to the hospital after being released he
       was taken back to the PPSB for processing. The male told the nurse that he had
       no medical issues except heartburn however the nurse discovered he was
       treated for drug withdrawl, the male was refusing to be processed and verbally
       unresponsive but otherwise found to be healthy by the nurse. The male was
       placed in his cell and when checked he was unresponsive and stiff. Decedent's
       DOB: 06/11/1975



                                                                                                  Page 2 of 2
                            This questionnaire is to be used only for data collection purposes.
                           OMB #1121-0365, Death in Custody Reporting Act, exp. 07/31/2024
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